972 F.2d 1352
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Salvacion Bolor PAVIA, Petitioner,v.SECRETARY, DEPARTMENT OF VETERANS AFFAIRS, Respondent.
    No. 91-7022.
    United States Court of Appeals, Federal Circuit.
    May 18, 1992.
    
      Before MAYER, Circuit Judge, BENNETT, Senior Circuit Judge, and CLEVENGER, Circuit Judge.
      ON MOTION
      MAYER, Circuit Judge.
    
    ORDER
    
      1
      The Secretary of the Department of Veterans Affairs moves to suspend the requirement of filing a certified list, moves to waive the requirement of Fed.Cir.R. 27(d), and moves to dismiss the petition for review of Salvacion Bolor Pavia.   Pavia has not filed a response.
    
    
      2
      In February 1988, Pavia reopened her previously denied claim for death benefits based on the military service of her deceased husband in 1946 and 1947.   The VA regional office denied the claim and, on May 5, 1988, Pavia filed a notice of disagreement triggering an appeal to the Board of Veterans Appeals.   On April 18, 1989, the Board denied Pavia's appeal.*  Pavia now seeks review of the Board's April 18, 1989 decision in this court.
    
    
      3
      This court does not have jurisdiction to review Pavia's petition.   Pursuant to the Veterans' Judicial Review Act of 1988, this court has jurisdiction to review certain decisions of the Court of Veterans Appeals, 38 U.S.C. § 7292, and has jurisdiction to review certain actions of the Secretary, 38 U.S.C. § 502.   With regard to the former, Pavia is not seeking review of a decision of the Court of Veterans Appeals.   With regard to the latter, judicial review is limited to the Secretary's actions concerning the promulgation or publication of VA rules and regulations.   Hilario v. Secretary of Veterans Affairs, 937 F.2d 586, 588 (Fed.Cir.1991).   Pavia is not seeking review of such action.
    
    
      4
      Accordingly,
    
    IT IS ORDERED THAT:
    
      5
      (1) The Secretary's motion to suspend the requirement of filing a certified list is granted.
    
    
      6
      (2) The Secretary's motion to waive the requirement of Fed.Cir.R. 27(d) is granted.
    
    
      7
      (3) The Secretary's motion to dismiss is granted.
    
    
      
        *
         On June 18, 1990, Pavia again reopened her claim.   The VA regional office denied the claim on August 17, 1990.   Pavia did not file a notice of disagreement or otherwise attempt to appeal that decision to the Board
      
    
    